                        CERTIFICATE OF COMPLIANCE

         I hereby certify that on April 28, 2022, the foregoing Plaintiffs’ Motion for

Remand Action to Delaware Court of Chancery and for Fees under 28 U.S.C.

§1447(c) complies with the word count limitation and type and font limitations set

forth in the Standing Order Regarding Briefing in All Cases. The foregoing motion

includes 1,821 words.

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